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                    IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
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In re                                                            Chapter 11
                                                                 Case No. 23-10597 (BLS)

Desolation Holdings LLC, et al.,                                    (Jointly Administered)
                           Debtors.
                                                                    Hearing Date: July 12, 2023 at 1:30 p.m.
                                                                    Obj. Deadline: July 6, 2023
                                                                    (extended on consent of the Debtors)

                                                                    Re: Docket No. 134
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

OBJECTION OF THE U.S. SECURITIES AND EXCHANGE COMMISSION
  TO THE DEBTORS’ MOTION PURSUANT TO SECTIONS 105(A) AND
502(C) OF THE BANKRUPTCY CODE TO ESTIMATE CONTINGENT AND
        UNLIQUIDATED CLAIMS OF THE U.S. SECURITIES AND
      EXCHANGE COMMISSION AND GRANT RELATED RELIEF

          The U.S. Securities and Exchange Commission (“SEC”) objects to the

Debtors’ premature motion to estimate the SEC’s claim because it is an improper

attempt to shorten the time set by statute for governmental units to file claims and

will result in an unnecessary drain on estate resources. The purported compromise

proposed by the Debtors would require this court to determine issues under the

federal securities laws which may inappropriately interfere with ongoing litigation in

federal district court. The Court should deny this motion.

                                           BACKGROUND

          1.        On April 17, 2023, the SEC filed a complaint against the Debtor

Bittrex, Inc. (“Bittrex”) and Bittrex Global GmbH (“Bittrex Global”) in the United

States District Court for the Western District of Washington (the “District Court”),

SEC v. Bittrex, Inc., Case No. 23 Civ. 580 (W.D. Wash.) (the “District Court

Action”), alleging that Bittrex and Bittrex Global acted as an exchange, and Bittrex

has acted as a broker and clearing agency, without registering as an exchange, broker-


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dealer, or clearing agency, in violation of the Securities Exchange Act of 1934 (the

“Exchange Act”) Sections 5, 15(a), and 17A(b) [15 U.S.C. §§ 78e, 78o(a), 78q-1(b)],

respectively. The SEC also charged Bittrex’s co-founder and former CEO, William

Shihara, as a control person of Bittrex. The SEC is seeking disgorgement of all ill-

gotten gains, prejudgment interest, and civil penalties.

       2.      On May 22, 2023, the District Court entered a so ordered stipulation

granting Bittrex, Bittrex Global and Shihara (the “Defendants”) until June 30, 2023 to

file a motion to dismiss the District Court Action, which Defendants in the District

Court action have since filed. Under the agreed-upon schedule, the SEC has until

August 14, 2023 to oppose the motion to dismiss, and the Defendants have until

September 8, 2023 to reply. (District Court Docket No. 28). In their June 30, 2023

motions to dismiss, the Defendants alleged, among other things, that (i) Congress has

not vested the SEC with authority to regulate crypto assets as securities, and (ii) the

SEC has failed to prove that securities traded on the Bittrex platform. (District Court

Docket Nos. 37, 40).

       3.      On May 8, 2023, the Debtors filed Chapter 11 in order to liquidate. At

the first day hearing on May 10, 2023, they announced their intention to confirm a

plan of liquidation in these cases by September 29, 2023 and to have the plan become

effective as of October 5, 2023.

       4.      On May 24, 2023, the Debtors filed a motion to establish deadlines for

filing proofs of claims, including for governmental units pursuant to Section

502(b)(9) of the Bankruptcy Code (the “Claims Motion”). (Docket No. 65). The

order entered on that Claims Motion sets the governmental bar date for November 4,

2023, as required by the Code. (Docket No. 107).



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        5.       On June 16, 2023, the Debtors filed the Motion Pursuant to Sections

105(a) and 502(c) of the Bankruptcy Code to Estimate Contingent and Unliquidated

Claims of the U.S. Securities and Exchange Commission and Grant Related Relief

(the “Estimation Motion”), through which motion the Debtors instead seek to force

the SEC to file its proof of claim by August 9, 2023, which is contrary to the

Bankruptcy Code and will unnecessarily interfere with the District Court Action.

(Docket No. 134).

        6.       On June 5, 14, and 23, 2023, the Debtors filed their schedules of assets

and liabilities. According to the schedules, Bittrex lists assets of approximately

$352M and liabilities of approximately $390M, approximately $338M of which are

listed as customer accounts. (Docket No. 142).

                                        DISCUSSION

I.      The Estimation Motion is premature, unnecessary, and will result in a
        waste of estate resources.

        7.       The Estimation Motion is unnecessary, wasteful, and premature, and

was filed without prior consultation with the SEC staff regarding the treatment of the

SEC’s claims in the bankruptcy case. Had the Debtors contacted the SEC staff, the

staff would have noted that in other recent bankruptcy cases involving crypto asset

market participants, the SEC has enforced the securities laws while allowing for

payment to investors where feasible given a debtor’s assets. Indeed, the SEC recently

did not oppose a request for authorization to honor withdrawals of customer assets,

which accounts for the vast majority of liabilities of Bittrex.1 See also In re BlockFi


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 On May 12, 2023, the Debtors filed a motion to allow the Debtors to honor customer withdrawals.
(Docket No. 43). On May 24, 2023, the SEC filed a response and reservation of rights where the SEC
confirmed that it did not oppose the Debtors’ request for authorization to honor withdrawals of
customer assets. (Docket No. 64).


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Inc., (Case No. 22-19361 Bankr. D. N.J.) (Docket No. 1099) (SEC agreeing to allow

harmed investors and creditors to be paid ahead of the SEC’s claims).2

         8.       Moreover, Debtors’ argument that unless estimation happens very

soon, distributions to equity holders will be delayed is unavailing. (Motion at 15)

(“Whether equity holders receive distributions is dependent on liquidation of the SEC

Claims.”). Upon information and belief, the Debtors’ ultimate indirect equity holders

include Mr. Shihara, who is a defendant in the District Court Action. Facilitating a

recovery to equity holders, which include a defendant in an SEC action, is not a

compelling reason to shorten the SEC’s time to file a claim and to allow an expedited

estimation hearing.

         9.       Moreover, the Estimation Motion is unnecessary to the extent there are

insufficient assets remaining to make any distribution to the SEC. Although the

Motion argues that “[t]he Debtors believe that there are sufficient assets to pay

general unsecured creditors in full, depending on the amount of their claims,”

(Motion at 15), this rosy forecast is inconsistent with the Debtors’ filed schedules for

Bittrex which list liabilities of approximately $390M and assets of approximately

$352M, even without taking into account the SEC’s Claims. (Docket No. 142 at 2 of

754). Accordingly, estimating the SEC’s claim now is not needed to avoid undue

delay in the administration of these cases. Rather, it would be a waste of estate and

judicial resources.

II.      Debtors seek to improperly shorten the government’s 180-day statutory
         time period to file a proof of claim in contravention of the Bankruptcy
         Code.


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  Debtors’ counsel did not contact SEC staff prior to filing the Estimation Motion on the Friday before
a long weekend, minutes before the CM/ECF system was shut down for scheduled maintenance, to
notify them of the filing or to discuss potential alternatives to litigation.


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       10.     Section 502(b)(9) of the Bankruptcy Code states that “a claim of a

governmental unit shall be timely filed if it is filed before 180 days after the date of

the order for relief…” 11 U.S.C. § 502(b)(9). The Estimation Motion, however,

seeks to improperly use Section 502(c) to circumvent the 180-day time period the

SEC has to file a proof of claim by about 90 days, from November 4, 2023 to August

9, 2023 (Motion at 25). Section 502(c) provides that “[t]here shall be estimated for

purpose of allowance under this section – (1) any contingent or unliquidated claim,

the fixing or liquidation of which, as the case may be, would unduly delay the

administration of the case[]”. 11 U.S.C. § 502(c)(1) (emphasis added). While

Bankruptcy Code Section 502(c) does not give specific procedures for estimating

claims, bankruptcy courts have discretion to determine the best methods for

estimating claims under the circumstances. See e.g., Bittner v. Borne Chemical Co.,

691 F.2d 134, 135 (3d Cir. 1982); In re Lionel LLC, 2007 WL 2261539 *5 (Bankr.

S.D.N.Y. 2007); In re Baldwin-United Corp., 55 B.R. 885, 898-9 (Bankr. S.D. Ohio

1985) (bankruptcy court’s procedure for estimating claims were generally consistent

with a summary trial). This discretion does not include requiring the government to

file proofs of claim prior to the 180 day time period statutorily set in Section

502(b)(9).

       11.     Moreover, the Debtors’ justification for this relief is their self-imposed

plan confirmation schedule that they have scheduled before the governmental bar

date. That is not cause to shorten the governmental time to file a proof of claim or to

be considered “an appropriate factor” in the Debtors’ undue delay analysis under

Section 502(c)(1). See In re LightSquared, Inc., 2014 WL 5488413 *5 (Bankr.

S.D.N.Y. 2014) (Court “decline[d] to consider the failure to meet the parties’ self-

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imposed deadlines and conditions to confirmation of the…Plan as an appropriate

factor to be considered in an undue delay analysis”).

        12.      Shortening the governmental bar date will impact other governmental

entities, who should be given an opportunity to brief and be heard on this issue.

III.    Debtors are improperly seeking to have the bankruptcy court determine
        issues under the federal securities laws that are currently pending before
        another tribunal in the District Court Action.

        13.      In the Estimation Motion, the Debtors propose that the Court apply a

50% discount to the amount at which the Court estimates the SEC’s disgorgement

claims. The Debtors claim that by applying a 50% discount, the Court can estimate

the SEC claims without “tipping the scales in favor of either party.” (Motion at 6).3

And if the SEC does not agree to this 50% discount, or wishes to include in the

Court’s analysis (or in the District Court’s analysis) certain additional crypto assets

after discovery in the District Court Action, this Court would potentially be required

to determine issues under the federal securities laws that are being litigated in the

District Court Action. (Motion at 6). Such issues include whether the six crypto

assets listed in the SEC’s complaint, and any additional relevant crypto assets, are

being offered and sold as securities and whether the defendants in the District Court

Action operated as an unregistered securities exchange, broker and/or clearing agency

by offering these crypto assets on a crypto asset trading platform. These federal

securities laws issues are at the heart of the District Court Action and should be

decided in the first instance in that already pending case. See, e.g., In re Dana Corp.,



3
 The SEC had no say in negotiating this purportedly neutral approach. This purported approach also
appears to be akin to an illegal categorical subordination of government claims. See e.g. U.S. v.
Reorganized CF&I Fabricators of Utah, Inc., 518 U.S. 213, 216 (1996); United States v. Noland, 517
U.S. 535, 536 (1996) (holding that the bankruptcy court may not equitably subordinate claims on a
categorical basis).

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379 B.R. 449, 453 (S.D.N.Y. 2007) (“Withdrawal of the reference is appropriate

where the case would require ‘the bankruptcy court to engage itself in the intricacies’

of non-Bankruptcy law, as opposed to ‘routine application’ of that law.”).

       14.     In fact, in an SEC enforcement action, the District Court’s power to

order disgorgement only arises after liability has been established, and the SEC does

not conduct its final disgorgement calculations until it knows the full extent of

liability. See SEC v. First Jersey Securities, Inc., 101 F.3d 1450, 1474 (2d Cir. 1996)

(“Once the district court has found federal securities law violations, it has broad

equitable power to fashion appropriate remedies, including ordering that culpable

defendants disgorge their profits.”). Here, the Debtors are seeking to have the SEC

prove the disgorgement amount before a determination of liability, or to improperly,

in effect, limit that disgorgement to the crypto assets specifically listed in the SEC’s

complaint in the District Court Action. Debtors’ request that, in essence, the

Bankruptcy Court determine or limit the question of disgorgement before the District

Court has even had the opportunity to decide liability in a pending federal securities

law case is designed to inappropriately interfere with and subvert an ongoing police

and regulatory action.

       15.     In addition, the Estimation Motion argues that once the SEC files its

proof of claim, the Bankruptcy Court “would then use its core judicial power over the

allowance, disallowance, and liquidation of claims to estimate the SEC Claims as a

contested matter.” (Motion at 5). As such, the Estimation Motion could operate to

limit the liability in the District Court Action of the non-Debtor defendants, which

include former Bittrex CEO, Shihara and Bittrex Global. Specifically, the proposed

process in the Estimation Motion would make it possible for Shihara and Bittrex



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Global, who would be jointly and severally liable for registration violations

committed by Bittrex, to try to use the Bankruptcy Court’s findings to limit the SEC’s

claims to their advantage in the District Court Action.

IV.      If the Court grants the Estimation Motion, the SEC requests discovery
         and an appropriate discovery schedule.

         16.      In this Circuit, Bankruptcy Courts can use “whatever method is best

suited to the particular contingencies at issue[]” when estimating claims. Bittner v.

Borne Chemical Co., 691 F.2d at 135. If the Court is inclined to grant the Estimation

Motion, the SEC should be provided discovery, and should not be limited to the six

crypto assets named in the SEC’s Complaint (Motion at 23), which represent only a

sample of the total number of crypto asset securities that were traded on the Bittrex

platform and that could serve as the basis for a disgorgement calculation.

                                    RESERVATION OF RIGHTS

         17.      The SEC reserves the right to supplement this objection and provide

more complete briefing if the Court is inclined to estimate the SEC’s claims. Further,

the SEC is not waiving its rights to object on any basis, including to this Court’s

authority to determine issues under the securities laws,4 the subordination or

disallowance of the SEC’s claims, and the improper shortening of the time in which

the SEC has to file a proof of claim under Bankruptcy Code Section 502(b)(9). The

SEC does not consent to the entry of final orders or judgments by the Court if it is

determined that the Court, absent consent of the parties, cannot enter final orders or

judgments consistent with Article III of the United States Constitution.



4
  See, e.g., In re Dana Corp., 379 B.R. at 459-461, 463 (Court granted the Government’s motion to
withdraw the reference of debtors’ objection to its proofs of claim and order establishing procedures to
estimate those claims because “substantial and material consideration of CERCLA” was required for
the resolution of the proceedings.).

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                                   CONCLUSION

       The Debtors’ current proposal to estimate the SEC’s claim is unworkable,

legally insufficient, and a waste of investor money.

       WHEREFORE, the SEC respectfully requests the entry of an Order denying

the Estimation Motion, or in the alternative that the Court set a briefing schedule so

that the SEC and other governmental agencies can address the significant issues

raised by the procedures proposed by the Debtors, and providing such other relief as

the Court deems appropriate.


 Dated: New York, New York
        July 6, 2023

                                               Respectfully submitted,

                                               UNITED STATES SECURITIES AND
                                               EXCHANGE COMMISSION

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